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                             UNITED STATES DISTRICT COURT
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                           EASTERN DISTRICT OF WASHINGTON
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     UNITED STATES OF AMERICA,                          No. 2:14-CR-152-SMJ-2
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 9                        Plaintiff,                    ORDER GRANTING
                                                        DEFENDANT’S UNOPPOSED
10 vs.                                                  MOTION TO MODIFY
11
   DESTANIE TALETHIA DANIEL,
12
13                        Defendant.
14          Before the Court is Defendant’s Motion to Lift the Curfew Condition for a
15   weekend, ECF No. 150, and Motion to Expedite, ECF No. 151. The Defendant
16   wishes to have her curfew lifted on Saturday and Sunday, May 2-3, 2015. Neither
17   the United States, nor the U.S. Probation Office objects to this request.
18   Accordingly,
19          IT IS ORDERED that the Motion, ECF No. 150, is GRANTED.
20   Defendant shall not be subject to her court-imposed curfew on May 2nd and May
21   3rd only. She shall advise the U.S. Probation Office of her contact information on
22   those dates. The Motion to Expedite, ECF No. 151, is GRANTED.
23          All other terms and conditions of pretrial release not inconsistent herewith shall
24   remain in full force and effect.
25          DATED April 27, 2015.
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27                                     _____________________________________
                                                 JOHN T. RODGERS
28                                      UNITED STATES MAGISTRATE JUDGE



     ORDER - 1
